                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

GIOVANNI BARRICELLI,
Individually and on behalf of all other
similarly situated current and former
employees,

Plaintiff,                                                No. ___________________

v.

SOLDIER TRUCKING, LLC d/b/a                               FLSA Opt-in Collective Action
SOLDIER DELIVERY
a Wisconsin Limited Liability Company, and
TRAVIS SMITH, individually,                               JURY DEMANDED

Defendants.


                      ORIGINAL COLLECTIVE ACTION COMPLAINT



        Plaintiff Giovanni Barricelli, individually, and on behalf of himself and all others

similarly situated, hereby files his Collective Action Complaint (“Complaint”) against Soldier

Trucking d/b/a Soldier Delivery, a Wisconsin Corporation, and Travis Smith, individually, and

alleges as follows:

                                   I.      INTRODUCTION

1.      Plaintiff Giovanni Barricelli (“Plaintiff”) was an employee of Soldier Trucking, LLC

        d/b/a Soldier Delivery (“Soldier Trucking”) at all times relevant to this Complaint.

2.      This lawsuit is brought against Soldier Trucking, LLC and Travis Smith, (collectively

        “Defendants”) as a collective action under the Fair Labor Standards Act (“FLSA”), 29

        U.S.C. § 201, et seq., to recover unpaid wages for Plaintiff and other similarly situated

        employees who are members of a class as defined herein and currently or previously were


                                  Page 1 of 13
      Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 1 of 13 PageID #: 1
       employed as delivery drivers by Defendants.

3.     At all times material to this Complaint, Plaintiff and others similarly situated performed

       non-exempt delivery driver job duties on behalf of Defendants.

4.     Plaintiff was employed by Defendants during all times relevant to this action. Others

       similarly situated have been employed by Defendants at all times relevant herein.

5.     Based on the information preliminarily available, and subject to discovery in this cause,

       Defendants did not compensate Plaintiff and those similarly situated for all time spent

       working, including overtime hours worked in excess of forty (40) per week during

       weekly pay periods relevant to this action.

                            II.     JURISDICTION AND VENUE

6.   The FLSA authorizes actions by private parties to recover damages for violations of the

     FLSA’s wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claims are based on

     29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

7.   Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c) because Plaintiff

     resides in this district, performed job duties as an employee of Soldier Trucking in this

     district, Defendants receive and deliver packages for Amazon.com, Inc. (“Amazon”)

     throughout this district, Defendants regularly conduct business in this district, and

     Defendants’ wage and hour plans, policies, and practices have been administered in this

     district. Soldier Trucking has violated, and continues to violate, the FLSA within this district

     at all times relevant to this Complaint. Defendant Travis Smith, as the owner and managing

     member of Soldier Trucking, LLC during times relevant to this Complaint, has been

     responsible for establishing and administering Soldier Trucking’s common payroll and

     compensation plans, policies and practices in this district and throughout the United States.


                                  Page 2 of 13
      Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 2 of 13 PageID #: 2
                                 III.    CLASS DESCRIPTION

8.   Plaintiff brings this action on behalf of the following similarly situated persons:

      All current and former delivery drivers employed by Soldier Trucking, LLC d/b/a

      Soldier Delivery who have performed job duties at any of their delivery

      facilities/hubs in the United States at any time during the applicable limitations’

      period covered by this Complaint (i.e. two years for FLSA violations, and three years

      for willful FLSA violations) up to and including the date of final judgment in this

      matter, and who is the Named Plaintiff and those who elect to opt-in to this action

      pursuant to the FLSA, 29 U.S.C. § 216(b). (Collectively, “the class”).

                                           IV.     PARTIES

9.   Defendant Soldier Trucking, LLC is a Wisconsin Limited Liability Company with its

     principal office and address located at 5385 Freitag Dr., Ste. 2, Menomonie, Wisconsin

     54751-8940. According to the Wisconsin Secretary of State, Soldier Trucking, LLC may be

     served through its registered agent for service of process at 5385 Freitag Dr., Ste. 2,

     Menomonie, Wisconsin 54751-8940. According to the Tennessee Secretary of State Soldier

     Trucking is not registered to do business in Tennessee as of the filing of this Complaint.

10. Defendant Travis Smith is the owner and managing member of Soldier Trucking, LLC.

     Travis Smith may be served for purpose of service of process at 5385 Freitag Dr., Ste. 2,

     Menomonie, Wisconsin 54751-8940.

11. Defendants constitute an integrated enterprise because their related activities (i.e. owning

     and operating delivery vehicles to deliver Amazon packages and parcels), unified operation,

     and exercise of common control, by person or persons (Travis Smith) for a common

     business purpose as that term is defined the FLSA, 29 U.S.C. §203(r).


                                  Page 3 of 13
      Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 3 of 13 PageID #: 3
12. Plaintiff Giovanni Barricelli is an adult citizen of the United States and was employed as a

    delivery driver of Defendants in this district during all times relevant to this action.

    Specifically, Plainitff Barricelli was employed by Defendants from November 2018 to

    January 2019. Plaintiff Barricelli’s “Consent to Join” is attached as Exhibit A.

                                    V.     ALLEGATIONS

13. Defendant Soldier Trucking, LLC is in the business of delivering packages and parcels in

    municipal areas throughout Tennessee, Minnesota, Wisconsin, Illinois, and Iowa for

    Amazon under the control and direction of its owner, Travis Smith.

14. The principal stockholder and managing member of Soldier Trucking, LLC is Defendant

    Travis Smith.

15. Defendant Travis Smith is subject to personal jurisdiction in the state of Tennessee for

    purposes of this lawsuit.

16. Upon information and belief, Defendant Travis Smith hired and fired delivery drivers,

    established the rate of pay for delivery drivers, and made other decisions which affected the

    terms and conditions of work for employees such as the Plaintiff.

17. Upon information and belief, Defendant Travis Smith made the decision to not pay the

    Plaintiff and other delivery drivers overtime in violation of the FLSA.

18. Throughout the recovery period applicable to this action, upon information and belief,

    Defendant Travis Smith knew that the law required that the delivery drivers who worked for

    him be paid overtime for each hour they worked in excess of forty (40) in any given

    workweek.

19. Defendants are and/or have been the “employer” of Plaintiff within the meaning of 29

    U.S.C. § 203(d) of the FLSA as well as employers of all other persons hired to work for


                                 Page 4 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 4 of 13 PageID #: 4
    Defendants as delivery drivers.

20. Plaintiff and those similarly situated are and/or have been delivery drivers of Defendants

    during all times relevant to this action.

21. Defendants employed Plaintiff and those similarly situated and were responsible for

    establishing and administering pay policies and practices, including pay classifications and

    overtime compensation rates of pay under the control and direction of Travis Smith, during

    all times relevant to this action.

22. Defendants have maintained a common plan, policy, and practice of establishing and

    administering pay for Plaintiff and other similarly situated delivery drivers at all times

    relevant herein.

23. Defendants’ common payroll and compensation plans, policies, and practices relating to

    Plaintiff and other similarly situated delivery drivers have been established, implemented

    and administered by and through Travis Smith, as the respective owner of Soldier Trucking,

    LLC, and on his behalf individually.

24. At all times relevant to this action, Plaintiff and those similarly situated are and/or have been

    “employees” of Defendants, as defined by Section 203(e)(l) of the FLSA, and were

    employed by Defendants within the territory of the United States of America within three

    (3) years preceding the filing of this lawsuit.

25. At all times material to this action, Soldier Trucking, LLC has been an enterprise engaged in

    commerce or in the production of goods for commerce as defined by Section 203(s)(l) of the

    FLSA, with annual revenue in excess of $500,000.00.

26. Defendants have been subject to the pay requirements of the FLSA within weekly pay

    periods during the relevant statutory limitations’ period.


                                 Page 5 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 5 of 13 PageID #: 5
27. Plaintiff and other class members’ primary duties are, and have been, to deliver Amazon

    packages and parcels to businesses and individuals within designated territories.

28. Defendants have had a centralized common plan, policy, and practice of only paying

    Plaintiff and those similarly situated delivery drivers a “day-rate” of pay of around $140.00

    per day for all hours worked within weekly pay periods during the relevant statutory period.

    Plaintiff and other delivery drivers are not compensated at one and one-half times their

    regular rate of pay – as mandated by the FLSA – for all hours worked in excess of forty (40)

    per week within such weekly pay periods.

29. At the outset of Plaintiff’s employment, he was offered the position of delivery driver for

    Defendants with the explanation that he would be working 9:00AM to 5:00PM and would

    be paid an hourly rate of $15.00 to $20.00 per hour for his work. However, when Plaintiff

    began his employment, Defendants only offered a $140.00 “day rate” of pay for his work.

30. Plaintiff was scheduled to work shifts that ran from 9:00AM until 5:00PM, but in reality,

    Defendants required him to work from 7:00AM until 7:00/8:00PM, averaging around fifty-

    eight (58) hours per week during his employment.

31. Further, Plaintiff’s time records were “edited” or “adjusted” by Defendants to reflect that he

    clocked-out and ended his shift at 5:00PM no matter when he actually stopped performing

    work for Defendants. Additionally, Plaintiff was not allowed to clock into the timekeeping

    system until 9:00AM despite being required to actually begin work for his scheduled shifts

    prior to that time. As noted above, Plaintiff and other delivery drivers of Defendants were

    required to begin work for the scheduled shifts early and work past the scheduled end time

    of their shifts.

32. Plaintiff and those similarly situated are non-exempt from overtime compensation under the


                                 Page 6 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 6 of 13 PageID #: 6
    FLSA and are therefore entitled to compensation of one and one-half times their regular

    hourly rate of pay for all hours worked in excess of forty (40) per week within weekly pay

    periods during all times relevant to this action.

33. Plaintiff and those similarly situated have performed work for Defendants in excess of forty

    (40) hours per week within weekly pay periods during all times relevant herein, without

    being compensated for such overtime hours at one and one-half times their regular hourly

    rate of pay for all such overtime hours.

34. Defendants do not, and have not, paid Plaintiff and those similarly situated at one and one-

    half times their hourly rate of pay for all hours they have worked in excess of forty (40)

    hours per week within weekly pay periods during all times relevant to this action, as

    required by the FLSA, and Plaintiff and those similarly situated therefore are entitled to

    recover such unpaid overtime compensation from Defendants.

35. Defendants have failed to properly record Plaintiff and other class members’ work hours,

    including hours worked in excess of forty (40) per week, as required by the FLSA and,

    thereby have violated the recordkeeping requirements of the FLSA.

36. Defendants are unable to bear their burden of demonstrating that Plaintiff and other class

    members fall within any of the FLSA overtime exemptions.

37. The net effect of Defendants’ plan, policy, and practice of failing to properly record and pay

    Plaintiff and other class members overtime compensation for all hours worked in excess of

    forty (40) per week within weekly pay periods during all relevant times, was a scheme to

    save payroll costs and payroll taxes for which they have unjustly enriched themselves and

    enjoyed ill-gained profits at the expense of Plaintiff and other class members.

38. Although at this stage Plaintiff is unable to state the exact amount owed to him and other


                                 Page 7 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 7 of 13 PageID #: 7
    class members, he believes such information will become available during the course of

    discovery. However, when an employer fails to properly keep complete and accurate time

    records of its employees, such employees may establish the hours they worked, including

    overtime hours, solely by their testimony and the burden of proof of overcoming any such

    testimony shifts to the employer.

39. The overtime provision set forth in §207 of the FLSA applies to the Defendants.

                       VI.   COLLECTIVE ACTION ALLEGATIONS

40. The preceding paragraphs are incorporated by reference as if the same were fully set forth

    herein.

41. Plaintiff brings this action on behalf of himself and the class as a collective action pursuant

    to the FLSA, 29 U.S.C. §§ 206, 207, and 216(b).

42. The claims under the FLSA may be pursued by those who opt-in to this case under 29

    U.S.C. § 216(b).

43. The members of the class are so numerous that joinder of all other members of the class is

    impracticable. While the exact number of the other members of the class is unknown to

    Plaintiff at this time, and can only be ascertained through applicable discovery, Plaintiff

    believes there are more than 500 individuals in the class.

44. The claims of Plaintiff are typical of the claims of the class. Plaintiff and the other members

    of the class work or have worked for Defendants and were subject to the same operational,

    compensation and pay plans, policies, and practices, including the failure of Defendants to

    pay Plaintiff and others similarly situated employees overtime compensation for all hours

    worked in excess of forty (40) hours within weekly pay periods during all times relevant to

    this action.


                                 Page 8 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 8 of 13 PageID #: 8
45. Common questions of law and fact exist as to the class which predominate over any

    questions only affecting other members of the class individually and include, but are not

    limited to, the following:

        •   Whether Defendants required Plaintiff and other members of the class to work hours

            in excess of forty (40) per week within weekly pay periods of the limitations’ period,

            without being compensated at one and one-half times their regular hourly rate of pay

            for all such overtime hours;

        •   Whether Plaintiff and other members of the class were exempt from the FLSA

            overtime requirements during times relevant to this action;

        •   Whether Defendants failed to pay Plaintiff and other members of the class all

            applicable straight time wages for all hours worked in excess of forty (40) hours per

            week within weekly pay periods during all times relevant to this action;

        •   The correct statutes of limitations for Plaintiff’s claims and the claims of the other

            members of the class;

        •   Whether Plaintiff and other members of the class are entitled to damages, including

            but not limited to liquidated damages, and the measure of the damages; and

        •   Whether Defendants are liable for interest, attorneys’ interest, fees, and costs.

46. Plaintiff will fairly and adequately protect the interests of the class as his interests are

    aligned with those of the other members of the class. Plaintiff has no interests adverse to the

    class, and Plaintiff has retained competent counsel who are experienced in collective action

    litigation.

47. The collective action mechanism is superior to the other available methods for a fair and

    efficient adjudication of the controversy. The expenses, costs, and burden of litigation


                                 Page 9 of 13
     Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 9 of 13 PageID #: 9
    suffered by individual members of the class in a collective action are relatively small in

    comparison to the expenses, costs, and burden of the litigation of individual actions, making

    it virtually impossible for other members of the class to individually seek redress for the

    wrongs done to them.

48. Plaintiff and other members of the class have suffered and will continue to suffer irreparable

    damage from the unlawful pay policies, practices, and procedures implemented and

    administered by Defendants.

                                  COUNT I
                     RECOVERY OF OVERTIME COMPENSATION

49. The preceding paragraphs are incorporated by reference as if the same were fully set forth

    herein.

50. At all relevant times, Defendants have been and continue to be an “employer” engaged in

    interstate commerce within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

    Plaintiff and class members also have engaged in interstate commerce during all relevant

    times to this Complaint.

51. At all relevant times, Defendants employed (and/or continue to employ) Plaintiff and each

    of the other members of the class within the meaning of the FLSA.

52. At all times relevant, Defendants have had a uniform plan, policy, and practice of willfully

    refusing to pay the federal applicable overtime compensation to Plaintiff and other members

    of the class for all hours worked in excess of forty (40) hours per week.

53. At all times relevant, Defendants have had actual and/or constructive knowledge of willfully

    refusing to pay the federal applicable overtime compensation to Plaintiff and other members

    of the class for all hours worked in excess of forty (40) hours per week.



                                 Page 10 of 13
    Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 10 of 13 PageID #: 10
54. At all times relevant, Defendants did not have a good faith basis for their failure to pay the

    federal applicable overtime compensation to Plaintiff and other members of the class for all

    hours worked in excess of forty (40) hours per week.

55. As a result of Defendants’ willful failure to pay Plaintiff and other members of the class

    overtime compensation for all hours worked over forty (40) per week during the relevant

    statutory limitations’ period, they have violated the FLSA, 29 U.S.C. §§ 201, et seq.

56. Defendants’ conduct constitutes a willful violation of the FLSA within the meaning of 29

    U.S.C. § 255(a).

57. Due to Defendants’ willful FLSA violations, and lack of good faith, in their failure to pay

    Plaintiff and the other members of the class overtime compensation for all hours worked in

    excess of forty (40) hours per week during the relevant statutory limitations’ period,

    Plaintiff and putative class members are entitled to recovery of unpaid overtime wages, an

    additional equal amount as liquidated damages, as well as interest, reasonable attorneys’

    fees, costs, and disbursements relating to this action for the three-year statutory period under

    the FLSA, 29 U.S.C. § 216(b).

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff, individually and on behalf of himself and all other similarly situated

members of the class, demand judgment, jointly and severally, against Defendants, Soldier

Trucking, LLC and Travis Smith, individually, as well as to request this Court to grant the

following relief against said Defendants:

   A. Designation of this cause as a collective action on behalf of the class and promptly issue

       notice pursuant to 29 U.S.C. § 216(b), apprising class members of the pendency of this

       action and permitting other members of the class to assert timely FLSA claims in this

                                 Page 11 of 13
    Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 11 of 13 PageID #: 11
       action by filing individual Consents under 29 U.S.C. § 216(b);

   B. An award of compensation for unpaid overtime and minimum wages to Plaintiff and

       other members of the class;

   C. An award of liquidated damages to Plaintiff and other members of the class;

   D. An award of prejudgment and post-judgment interest at the applicable legal rate to

       Plaintiff and other members of the class;

   E. An award of costs, expenses, and disbursements relating to this action together with

       reasonable attorneys’ fees and expert fees to Plaintiff and other members of the class;

   F. A ruling that the three-year statutory period for willful violations under the FLSA shall

       apply in this action;

   G. A Declaration that Plaintiff and other members of the class were misclassified as exempt

       and entitled to unpaid overtime damages to be proven at trial;

   H. A Declaration that Defendants have willfully violated the FLSA;

   I. Award a reasonable incentive award for the Plaintiff to compensate him for the time and

       effort he has spent protecting the interests of other delivery drivers and the risks he has

       undertaken; and

   J. Such other general and specific relief as this Court deems just and proper.


                                     JURY TRIAL DEMAND

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all issues so triable.



Dated: February 11, 2019.                    Respectfully submitted,



                                 Page 12 of 13
    Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 12 of 13 PageID #: 12
                                           s/Gordon E. Jackson
                                           Gordon E. Jackson (TN BPR #08323)
                                           J. Russ Bryant (TN BPR #33830)
                                           Robert E. Turner, IV (TN BPR #35364)
                                           Nathaniel A. Bishop (TN BPR #35944)
                                           JACKSON, SHIELDS, YEISER & HOLT
                                           262 German Oak Drive
                                           Memphis, Tennessee 38018
                                           Telephone: (901) 754-8001
                                           Facsimile: (901) 754-8524
                                           gjackson@jsyc.com
                                           rbryant@jsyc.com
                                           rturner@jsyc.com
                                           nbishop@jsyc.com

                                           and

                                           Nina Parsley (TN BPR #23818)
                                           PONCE LAW
                                           400 Professional Park Drive
                                           Goodlettsville, TN 37072
                                           nina@poncelaw.com

                                           Attorneys for Named Plaintiff and similarly situated
                                           current and former employees

                              CERTIFICATE OF SERVICE

I hereby certify that on this 11th day of February, 2019, I electronically filed the foregoing
document with the Court’s ECF system. Service of this Complaint will be made on Defendants
with summonses to be issued by the Clerk per the Federal Rules of Civil Procedure.


                                    s/Gordon E. Jackson
                                    Gordon E. Jackson




                                 Page 13 of 13
    Case 3:19-cv-00136 Document 1 Filed 02/11/19 Page 13 of 13 PageID #: 13
